                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR06-4109-MWB
 vs.                                                ORDER CONCERNING
                                                MAGISTRATE’S REPORT AND
 MICHAEL PRICE,
                                               RECOMMENDATION REGARDING
               Defendant.                        DEFENDANT’S GUILTY PLEA
                                ____________________

       On January 25, 2007, a superseding indictment was returned against defendant
Michael Price charging him with aiding and abetting Ryan Mathison’s failure to appear at
Ryan Mathison’s trial, in violation of 18 U.S.C. § 3146(a)(1) and § 3146(b)(1)(A)(i),
conspiracy to aid and abet Ryan Mathison’s failure to appear at trial, in violation of 18
U.S.C. § 371. On May 4, 2007, defendant appeared before Chief United States Magistrate
Judge Paul A. Zoss and entered a plea of guilty to Count 1 of the superseding indictment.
On this same date, Judge Zoss filed a Report and Recommendation in which he
recommends that defendant’s guilty plea be accepted. No objections to Judge Zoss’s
Report and Recommendation were filed. The court, therefore, undertakes the necessary
review of Judge Zoss’s recommendation to accept defendant’s plea in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the



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              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of May 4, 2007,
and accepts defendant’s plea of guilty in this case to Count 1 of the superseding indictment.
       IT IS SO ORDERED.
       DATED this 21st day of May, 2007.


                                                  __________________________________
                                                  MARK W. BENNETT
                                                  U. S. DISTRICT COURT JUDGE
                                                  NORTHERN DISTRICT OF IOWA




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